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                       Exhibit 1
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COOPERATION AND COORDINATION AGREEMENT ENTERED INTO BY, AS ONE PARTY,
THE SECRETARIAT OF THE INTERIOR, THROUGH THE UNDERSECRETARIAT FOR
POPULATION       AND      IMMIGRATION   SERVICES,   REPRESENTED    BY    THE
UNDERSECRETARY, MR. JOSE ANGEL PESCADOR OSUNA, AND BY THE SENIOR
OFFICIAL, MR. GERARDO CAJIGA ESTRADA, ASSISTED BY THE COMMISSIONER OF
THE NATIONAL IMMIGRATION INSTITUTE, HEREINAFTER REFERRED TO AS THE
“I.N.M.,” DR. ALEJANDRO CARRILLO CASTRO, HEREINAFTER REFERRED TO AS
“INTERIOR,” AND THE NATIONAL AIR TRANSPORTATION ASSOCIATION, REPRESENTED
BY ITS PRESIDENT, JUAN I. STETA, P.E., ASSISTED BY THE SECRETARY, MR. JAVIER
CHRISTLIEB MORALES, AND BY ITS EXECUTIVE DIRECTOR, MR. GABRIEL ORTEGA
ALCOCER, HEREINAFTER REFERRED TO AS THE “CANAERO,” AND THE AIR
TRANSPORTATION COMPANIES AFFILIATED WITH “CANAERO,” WHICH ADHERE TO
THIS AGREEMENT, THROUGH THEIR REPRESENTATIVES, A LIST OF WHICH IS
ATTACHED HERETO AS EXHIBIT NUMBER 1, HEREINAFTER REFERRED TO AS THE “AIR
TRANSPORTATION COMPANIES,” FOR THE PURPOSE OF ESTABLISHING THE BASES
FOR COOPERATION BETWEEN THE PARTIES, IN ORDER TO COMPLY WITH THE
ADMINISTRATIVE RULES ISSUED BY THE SECRETARIAT OF THE TREASURY AND
PUBLIC CREDIT, TO ESTABLISH THE SYSTEMS, PROCEDURES AND INSTRUCTIONS
REGARDING THE COLLECTION OF THE IMMIGRATION SERVICE FEE FROM NON-
IMMIGRANTS, AS TOURISTS (FMT), TRANSMIGRANTS (FM6) AND VISITING
BUSINESSMEN (FMN), AND VISITING CONSULTANTS (FMVC), HEREINAFTER REFERRED
TO AS “DNI,” WHICH IS REFERRED TO IN ARTICLE 8 OF THE FEDERAL FEE LAW,
SECTIONS I, III AND VIII.



                                 RECITALS.



I. THE GENERAL POPULATION LAW PROVIDES THAT THE SECRETARIAT OF THE
INTERIOR IS RESPONSIBLE FOR IMMIGRATION MATTERS, ORGANIZING AND
COORDINATING THE VARIOUS IMMIGRATION SERVICES, OVERSEEING THE ENTRY
AND DEPARTURE OF NATIONALS AND ALIENS, REVIEWING THEIR DOCUMENTATION,
APPLYING THE LAW AND THE REGULATIONS THEREUNDER, AS WELL AS ANY
RESPONSIBILITIES ASSIGNED TO IT BY OTHER LAWS AND REGULATIONS.

II. THE SECRETARIAT OF THE INTERIOR, THROUGH THE NATIONAL IMMIGRATION
INSTITUTE, HAS PROPOSED THE FOLLOWING STRATEGIC OBJECTIVES IN
IMMIGRATION POLICY IN THIS ADMINISTRATION:

A) TO PERMANENTLY CONTRIBUTE TO DETERMINING AND UPDATING AN
   IMMIGRATION POLICY THAT IS BASED ON NATIONAL OBJECTIVES AND THAT
   ENCOURAGES MIGRATORY FLOWS THAT BENEFIT THE COUNTRY.




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B) TO EXERCISE IMMIGRATION OVERSIGHT POWERS IN MEXICO, WITHIN THE
   FRAMEWORK OF RESPECT FOR LAW AND HUMAN RIGHTS OF MIGRANTS.

C) TO IMPROVE THE QUALITY OF SERVICES, THROUGH THE SIMPLIFICATION OF
   PROCEDURES,    THE   DEVELOPMENT   OF  PERSONNEL,  TECHNOLOGICAL
   MODERNIZATION, THE STRENGTHENING OF ADMINISTRATIVE EFFICIENCY,
   INTERINSTITUTIONAL COOPERATION AND THE PROMOTION OF A CULTURE OF
   SERVICE AND HONESTY.

III. IN THIS CONTEXT, AMONG OTHER PROGRAMS, A PROGRAM WAS APPROVED BY
THE FEDERAL EXECUTIVE BRANCH FOR NEW SOURCES OF FINANCING FOR THE
INSTITUTE ITSELF, FOR THE PURPOSE OF OPTIMIZING ITS RESOURCES AND
APPLYING THEM TO IMPROVING THE ACHIEVEMENT OF THE AFOREMENTIONED
STRATEGIC OBJECTIVES. ONE OF THE RESULTING ACTIONS IS THE ESTABLISHMENT
OF THE COLLECTION OF IMMIGRATION SERVICE FEES FROM NON-IMMIGRANTS, AS
TOURISTS, TRANSMIGRANTS, BUSINESSPEOPLE AND VISITING CONSULTANTS,
HEREINAFTER REFERRED TO AS THE “DNI,” CONTEMPLATED IN ARTICLE 8, SECTIONS
I, III AND VIII OF THE FEDERAL FEE LAW, WHOSE AMENDMENTS AND ADDITIONS WERE
PUBLISHED IN THE FEDERAL OFFICIAL GAZETTE ON DECEMBER 31, 1998. IN
ADDITION, ON MARCH 3 OF THIS YEAR, THE OMNIBUS TAX BILL FOR 1999 WAS
PUBLISHED, SECTION 9 OF WHICH, PERTAINING TO FEES, SPECIFICALLY, RULES 9.2.,
9.3. AND 9.4, AND IN THE FIFTH DECISION, WHICH MODIFIED RULES 9.2, 9.4., 9.5. AND
9.21 OF THE OMNIBUS TAX BILL, CONTAINED THE PROVISIONS RELATED TO ARTICLE
8, SECTIONS I, III AND VIII OF THE FEDERAL FEE LAW, FOR THE PURPOSES OF THE
COLLECTION OF THE DNI.


IV. THE FEDERAL TAX CODE PROVIDES THAT ALL FEDERAL REVENUES, EVEN IF THEY
ARE EARMARKED FOR SPECIAL PURPOSES, SHALL BE COLLECTED THROUGH THE
SECRETARIAT OF THE TREASURY AND PUBLIC CREDIT OR BY THE OFFICES THAT THE
LATTER AUTHORIZES (ART. 4 PARAGRAPH 2). IN ADDITION, ARTICLE 3, FIFTH
PARAGRAPH, OF THE FEDERAL FEE LAW PROVIDES THAT THE PUBLIC OFFICIALS
RESPONSIBLE FOR THE PROVISION OF THE SERVICES SHALL BE RESPONSIBLE FOR
THE COLLECTION AND PAYMENT OF THE FEES PROVIDED FOR IN SUCH LAW.


V. IN THE EXERCISE OF THE AUTHORITY VESTED IN IT BY THE FEDERAL TREASURY
SERVICE LAW AND THE INTERNAL RULES OF THE SECRETARIAT OF THE TREASURY
AND PUBLIC CREDIT, THE LATTER HAS ISSUED THE ADMINISTRATIVE RULES THAT
ESTABLISH THE PROCEDURES, SYSTEMS AND INSTRUCTIONS REGARDING THE
COLLECTION OF THE FEE FROM NON-IMMIGRANTS REFERRED TO IN THIS
AGREEMENT, SO THAT “CANAERO” AND “THE AIR TRANSPORTATION COMPANIES”
SHALL COOPERATE WITH THE INM IN THE COLLECTION OF THE “DNI”.




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VI. “THE AIR TRANSPORTATION COMPANIES” HAVE THE PLAN, SYSTEMS,
MECHANISMS AND ADMINISTRATIVE STRUCTURE CONSIDERED CAPABLE OF BEING
USED FOR THE COLLECTION OF THE “DNI”.


VII. THE 1995-2000 NATIONAL DEVELOPMENT PLAN PROVIDES THAT, WITH REGARD TO
THE MODERNIZATION OF PUBLIC ADMINISTRATION, IT IS NECESSARY TO RAPIDLY
AND EFFECTIVELY ADVANCE TOWARD THE PROVISION OF INTEGRATED SERVICES TO
THE PUBLIC THAT AVOID PAPERWORK, SAVE TIME AND EXPENSES AND PREVENT
ARBITRARINESS, AND THAT A RENEWAL IS REQUIRED THAT WILL REUSE ITS WORK
PLANS, REORDER ITS INCENTIVES, SIMPLIFY ITS PROCEDURES AND MODIFY ITS
MANAGEMENT METHODS.


VIII. THE PLANNING LAW PROVIDES THAT THE AGENCIES AND ENTITIES OF THE
FEDERAL EXECUTIVE BRANCH AND INTERESTED PRIVATE PARTIES MAY ENTER INTO
AGREEMENTS FOR ACHIEVING THE GOALS AND OBJECTIVES SET IN THE NATIONAL
DEVELOPMENT PLAN.


IX. BY RULE 9.21 OF THE FIFTH MODIFICATION OF THE OMNIBUS TAX BILL PUBLISHED
IN THE FEDERAL OFFICIAL GAZETTE ON JUNE 30, 1999, THE SECRETARIAT OF THE
TREASURY AND PUBLIC CREDIT AUTHORIZED THE PAYMENT OF FEES PROVIDED FOR
IN ARTICLE 8, SECTIONS I, II AND III OF THE FEDERAL FEE LAW BY MEXICAN OR
INTERNATIONAL AIRLINES WITH WHICH THE “I.N.M.” HAS ENTERED INTO
AGREEMENTS COVERING SUCH, IN ACCORDANCE WITH THE TERMS ESTABLISHED BY
THE SUCH SECRETARIAT.


                             REPRESENTATIONS.

1. OF “INTERIOR”.

1.1 IT IS AN AGENCY OF THE FEDERAL GOVERNMENT IN ACCORDANCE WITH
   ARTICLES 26 AND 27 OF THE FEDERAL PUBLIC ADMINISTRATION LAW.

1.2 THE UNDERSECRETARY OF POPULATION AND IMMIGRATION SERVICES HAS THE
   AUTHORITY TO ENTER INTO THIS AGREEMENT IN ACCORDANCE WITH THE
   PROVISIONS OF ARTICLE 6, SECTION IX, OF THE INTERNAL RULES OF SUCH
   SECRETARIAT.

1.3 THE SENIOR OFFICIAL HAS THE AUTHORITY TO SIGN THIS AGREEMENT IN
   ACCORDANCE WITH THE PROVISIONS OF ARTICLE 7, SECTION X, OF THE INTERNAL
   RULES OF SUCH SECRETARIAT.




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1.4 UNDER ARTICLE 41 OF THE INTERNAL RULES OF THE SECRETARIAT OF THE
   INTERIOR, PUBLISHED IN THE FEDERAL OFFICIAL GAZETTE ON AUGUST 31, 1998,
   THE NATIONAL IMMIGRATION INSTITUTE IS THE DECONCENTRATED TECHNICAL
   AGENCY OF THE SECRETARIAT OF THE INTERIOR WHOSE PURPOSE IS TO PLAN,
   EXECUTE, MONITOR, SUPERVISE AND EVALUATE IMMIGRATION SERVICES IN THE
   MEXICAN REPUBLIC, FOR THE PURPOSE OF GUARANTEEING EFFECTIVENESS IN
   DEALING WITH THE PROBLEMS LINKED TO THE IMMIGRATION PHENOMENON, AND
   THAT ARTICLE 48, SECTIONS I AND XIV, OF SUCH RULES LAW GIVES THE
   COMMISSIONER OF THE NATIONAL IMMIGRATION INSTITUTE THE FUNCTION OF
   SERVING AS SECRETARY OF THE TECHNICAL COUNCIL OF THE INM AS WELL AS
   PROPOSING THE EXECUTION OF AGREEMENTS AND OTHER LEGAL ACTS RELATED
   TO THE PROVISION OF IMMIGRATION SERVICE.

1.5 IT HAS REQUESTED THE COOPERATION OF “CANAERO” AND THE “AIR
   TRANSPORTATION COMPANIES” IN COLLECTING THE “DNI” ACCORDING TO THE
   ABOVE-DESCRIBED PLAN.

1.6 IT DESIGNATES AS ITS DOMICILE FOR THE PURPOSES OF THIS AGREEMENT
   HOMERO 1832, COL. LOS MORALES, DELEGACION MIGUEL HIDALGO, POSTAL CODE
   11510, MEXICO CITY, FEDERAL DISTRICT.

2. THE “CANAERO” REPRESENTS:

2.1. THAT IT PROVES ITS LEGAL FORMATION BY PUBLIC DOCUMENT NO. 51949, DATED
THE FIFTH OF NOVEMBER OF 1966, EXECUTED BEFORE GRACIANO CONTRERAS,
ESQ., NOTARY PUBLIC NO. 54, DULY RECORDED IN THE PUBLIC COMMERCIAL
REGISTRY OF MEXICO CITY, FEDERAL DISTRICT.

2.2. THAT THE PRESIDENT, THE SECRETARY AND THE EXECUTIVE DIRECTOR HAVE
THE AUTHORITY TO EXECUTE THIS AGREEMENT, STATING UNDER OATH THAT IT HAS
NOT BEEN REVOKED OR LIMITED.

2.3. THAT ITS CORPORATE PURPOSE IS, AMONG OTHER THINGS, REPRESENTING THE
GENERAL INTERESTS OF THE COMPANIES ENGAGED IN AIR TRANSPORTATION, WITH
OFFICES ESTABLISHED IN THE MEXICAN REPUBLIC, AS WELL AS THEIR ASSOCIATES,
BEFORE ANY AUTHORITY.

2.4. THAT IT DESIGNATES AS ITS LEGAL DOMICILE FOR THE PURPOSES OF THIS
AGREEMENT AVENIDA PASEO DE LA REFORMA NO. 509, COLONIA CUAUHTEMOC,
DELEGACION CUAUHTEMOC, POSTAL CODE 06500, MEXICO CITY, FEDERAL DISTRICT

3. “THE AIR TRANSPORTATION COMPANIES” REPRESENT:




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3.1 THAT THEY ARE COMPANIES LEGALLY ORGANIZED UNDER THE APPLICABLE LAW,
AS RECORDED IN THE MEXICAN AERONAUTICS REGISTRY, AND THAT THEIR
REPRESENTATIVES STATE UNDER OATH THAT THEY HAVE THE AUTHORITY TO
EXECUTE THIS AGREEMENT.

NOW, THEREFORE, BASED ON ARTICLES ARTICULOS 26, 27, 45 AND 50 OF THE
FEDERAL PUBLIC ADMINISTRATION LAW; ARTICLES 1, 4, 37, 38 AND 39 OF THE
PLANNING LAW; ARTICLES 1, 2, 14, 15, 21 AND 22 OF THE FEDERAL STATE-OWNED
COMPANIES LAW; ARTICLES 1 AND 7 OF THE GENERAL POPULATION LAW; ARTICLE 6
OF THE FEDERAL TREASURY SERVICE LAW; ARTICLES 1, 2, 3 AND 8 OF THE FEDERAL
FEE LAW; AND ARTICLES 1, 2, 6, 41, 42 AND 43 OF THE INTERNAL RULES OF THE
SECRETARIAT OF THE INTERIOR, THE PARTIES AGREE TO BE BOUND BY THE
FOLLOWING:



                                  CLAUSES

ONE.- PURPOSE.

THE PURPOSE OF THIS AGREEMENT IS TO ESTABLISH THE PROPER COORDINATION
BETWEEN THE PARTIES FOR THE PURPOSE OF COMPLYING WITH THE PROCEDURE
ESTABLISHED HEREIN WITH REGARD TO THE COLLECTION OF THE IMMIGRATION
SERVICE FEE FOR NON-IMMIGRANTS ESTABLISHED IN ARTICLE 8, SECTIONS I, III AND
VIII OF THE FEDERAL FEE LAW AND IN ACCORDANCE WITH THE OMNIBUS TAX BILL
FOR 1999, WHICH IS AN INTEGRAL PART OF THIS DOCUMENT AND WHICH ARE
PRESENTED AS EXHIBIT 3, TAKING ADVANTAGE OF THE PLAN, SYSTEMS AND
ADMINISTRATIVE    MECHANICS   AND    INFRASTRUCTURE     THAT   “THE       AIR
TRANSPORTATION COMPANIES” HAVE.

TWO.- THE PARTIES’ OBLIGATIONS.

THE PARTIES SHALL COORDINATE AND COOPERATE IN THEIR ACTIONS IN
ACCORDANCE WITH THE PROCEDURE FOR THE COLLECTION, GATHERING AND
CONTROL OF THE “DNI” AUTHORIZED BY THE SECRETARIAT OF THE TREASURY AND
PUBLIC CREDIT, WHICH, HAVING BEEN AGREED TO BY THE PARTIES, SHALL BE AN
INTEGRAL PART OF THIS AGREEMENT AS EXHIBIT NUMBER 2.

THE PARTIES AGREE TO ESTABLISH A MECHANISM THAT WILL ALLOW THE REVIEW
OF THE PAYMENT OF THE DNI IF THE VARIATION BETWEEN THE FIGURE ESTIMATED
BY INM AND THAT THAT PAID BY “THE AIR TRANSPORTATION COMPANIES” IS
GREATER THAN 5%.

THREE.- “THE AIR TRANSPORTATION COMPANIES'” OBLIGATIONS:




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A) TO RECEIVE THE NOTICE FROM THE “I.N.M.” REGARDING VARIATIONS OF THE
   AMOUNT OF THE DNI, AS WELL AS ANY OTHER INFORMATION THAT IS NECESSARY
   FOR ACHIEVING THE PURPOSES OF THIS AGREEMENT.

B) TO COLLECT, FROM PAYERS OF THE “DNI”, THE APPROPRIATE FEE UNDER THE
   FEDERAL FEE LAW, AS COLLABORATORS WITH THE “I.N.M.”.

C) TO DETERMINE THE CASES IN WHICH THE DNI IS NOT APPLICABLE, AMONG WHICH
   ARE MEXICAN NATIONALS WHO PURCHASE AIR TRANSPORTATION TICKETS
   OUTSIDE OF THE COUNTRY, AND, IF APPLICABLE, MAKE THE APPROPRIATE
   REIMBURSEMENTS.

D) TO DECLARE AND PAY TO THE TREASURER OF THE FEDERATION, USING FORM 5-
   A, THE TOTAL AMOUNT COLLECTED FOR THE “DNI” FROM PASSENGERS SUBJECT
   TO THIS FEE, ACCORDING TO THE PERIODS AND PAYMENT DATES INDICATED IN
   THE FOLLOWING TABLE:

              PERIOD                              PAYMENT DATE

FROM JULY 1 TO SEPTEMBER 30                        OCTOBER 31*
FROM OCTOBER 1 TO DECEMBER 31                      JANUARY 31*
FROM JANUARY 1 TO MARCH 31                           APRIL 30*
FROM APRIL 1 TO JUNE 30                              JULY 31*

* OR THE IMMEDIATELY FOLLOWING BUSINESS DAY, IF A NON-BUSINESS DAY

PAYMENT SHALL BE MADE USING FORM 5-A, INDICATING FEE CODE (427)

E) IF THE TOTAL AMOUNT COLLECTED REFERRED TO IN THE RECEIVING SECTION IS
   NOT DELIVERED WITHIN THE ESTABLISHED PERIOD OF TIME, ANY AIR
   TRANSPORTATION COMPANIES, AND ANY THAT ADHERE TO THIS AGREEMENT,
   THAT HAVE FAILED TO COMPLY SHALL PAY THE SURCHARGES PAYABLE BY THE
   INM, WHICH SHALL PASS THEM THROUGH TO THE AIR TRANSPORTATION
   COMPANIES AND ANY THAT HAVE ADHERED TO THIS AGREEMENT, AS THE
   RESULT OF THE FAILURE OR DELAY IN THE PAYMENT OF THE APPROPRIATE DNI.

F) TO VERIFY OR CONFIRM THE QUARTERLY DECLARATIONS THAT THE AIR
   TRANSPORTATION COMPANIES WILL SUBMIT TO THE “INM” FOR THE COLLECTION
   OF THE DNI, THE LATTER MAY HAVE ACCESS TO THE COMPANIES' DEPARTURE
   MANIFESTS OR THE ACCOUNTING RECORDS FOR THE “DNI”, IN THOSE THAT
   BREAK OUT THE PAYERS OF THIS FEE, AS APPLICABLE.

  THE INM MAY REVIEW THE DECLARATIONS FILED BY THE AIR TRANSPORTATION
  COMPANIES IN CONNECTION WITH THE COLLECTION OF THE DNI WITHIN A PERIOD
  OF NO MORE THAN 1 YEAR AFTER THE DATE OF THE SUBMISSION THEREOF.




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  AFTER MAKING THE PAYMENT ACCORDING TO THE SCHEDULE DESCRIBED IN
  SECTION D) ABOVE, THE AIR TRANSPORTATION COMPANIES SHALL, WITHIN 3
  BUSINESS DAYS OF DOING SO, FAX THE “INM” A COPY OF THE DECLARATION MADE
  ON FORM 5-A, AND WITHIN THE FOLLOWING 10 BUSINESS DAYS, A PHOTOSTATIC
  COPY OF SUCH PROOF OF PAYMENT ATTACHED TO A WRITTEN DOCUMENT
  ISSUED BY “THE AIR TRANSPORTATION COMPANIES” INDICATING THE PERIOD FOR
  WHICH PAYMENT IS MADE.

FOUR.- “INTERIOR’S” OBLIGATIONS:

IN ACCORDANCE WITH CLAUSE 2, INTERIOR, ACTING THROUGH THE “I.N.M.”, SHALL
BE OBLIGATED TO:

A) TIMELY NOTIFY THE “CANAERO”, ON A QUARTERLY BASIS, WITHIN A PERIOD OF 10
   BUSINESS DAYS PRIOR TO THE LAST DAY OF THE MONTH, OF THE AMOUNT OF
   THE “DNI”, AS WELL AS ANY OTHER PERTINENT INFORMATION, IN ORDER FOR IT,
   IN TURN, TO INFORM “THE AIR TRANSPORTATION COMPANIES” THEREOF.

B) SUPERVISE AND CHECK “THE AIR TRANSPORTATION COMPANIES” WITH RESPECT
   TO THE OBLIGATIONS THAT THEY ASSUME HEREUNDER.

FIVE.- THE “CANAERO’S” OBLIGATIONS.

TO COMPLY WITH THE COMMITMENTS ASSUMED UNDER THIS AGREEMENT,
CANAERO AGREES TO:

A) RECEIVE FROM “INTERIOR”, THROUGH THE “I.N.M.”, THE NOTICE OF THE
   VARIATIONS OF THE AMOUNT OF “DNI”, UNDER CLAUSE FOUR, SECTION A).

B) NOTIFY “THE AIR TRANSPORTATION COMPANIES”, AND THOSE THAT ADHERE TO
   THIS AGREEMENT, OF THE AMOUNT OF THE DNI, IN ORDER FOR THEM TO APPLY
   IT TO THE FOREIGN PASSENGERS: ANY TOURISTS, TRANSMIGRANTS, VISITING
   BUSINESSMEN AND CONSULTANTS OBLIGATED TO PAY THIS FEE WHO PURCHASE
   AN INTERNATIONAL AIR TICKET INSIDE OR OUTSIDE OF MEXICO, WHOSE ENTRY
   INTO THE COUNTRY IS ON OR AFTER THE FIRST DAY OF JULY 1999, IN
   ACCORDANCE WITH THE RULES ISSUED BY THE SECRETARIAT OF THE TREASURY
   AND PUBLIC CREDIT (EXHIBIT 3)

C) PROMOTE THE ADHERENCE OF THE AIR TRANSPORTATION COMPANIES TO THIS
   AGREEMENT.



SIX.- NOTICES.




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“THE AIR TRANSPORTATION COMPANIES” DESIGNATE, AS THEIR DOMICILES FOR THE
PURPOSES OF THIS AGREEMENT, THOSE INDICATED IN EXHIBIT 1.

ANY PARTY THAT CHANGES ITS DOMICILE IN THE FUTURE MUST NOTIFY THE
COUNTERPARTIES THEREOF IN WRITING WITHIN A PERIOD OF NO MORE THAN 10
DAYS; IF THE AFOREMENTIONED NOTICE IS NOT GIVEN, NOTICES SHALL BE
EFFECTIVE AT THE LAST DOMICILE RECORDED. IN ORDER TO FACILITATE RELIABLE
AND EFFECTIVE COMMUNICATIONS, THE PARTIES SHALL FORMALLY DESIGNATE, IN
WRITING, A PERSON WHO WILL BE RESPONSIBLE FOR SERVING AS THE LIAISON FOR
COMPLIANCE WITH THIS AGREEMENT. THE NAME, DOMICILE, TELEPHONE AND FAX
NUMBER OF SUCH PERSON SHALL BE PROVIDED WITHIN A PERIOD OF 5 DAYS AFTER
THE EXECUTION HEREOF.

SEVEN.- FORM OF COLLECTION.

THE COLLECTION OF THE “DNI” BY THE AIR TRANSPORTATION COMPANIES AND ANY
THAT ADHERE TO THIS AGREEMENT SHALL BE MADE IN MEXICAN PESOS OR THE
EQUIVALENT THEREOF IN A FOREIGN CURRENCY. HOWEVER, IT SHALL ALWAYS BE
PAID TO THE TREASURY IN MEXICAN PESOS, AS AGREED IN THIS INSTRUMENT AND
THE EXHIBITS THERETO.

THE COLLECTION OF THE “DNI” SHALL BE INCLUDED IN THE AIRLINE TICKET.

IN THE EVENT THAT THE “DNI” IS NOT COLLECTED IN THE AIRLINE TICKET ITSELF, IT
SHALL BE PAID BY THE FEE PAYER TO “THE AIR TRANSPORTATION COMPANIES” AT
THE TIME THAT HIS DEPARTURE FROM THE COUNTRY IS DOCUMENTED.

EIGHT.- OBJECTIONS.

IN THE EVENT THAT THE AIR TRANSPORTATION COMPANIES HAVE PAID IN EXCESS
OF THE AMOUNTS COLLECTED FOR THE DNI, THEY SHALL NOTIFY THE I.N.M.
THEREOF, WHICH SHALL MAKE A RULING ON SUCH WITHIN A PERIOD OF 15
CALENDAR DAYS FROM THE DATE OF THE NOTICE. IN THE EVENT THAT THE I.N.M.
DOES NOT RESOLVE THE OBJECTION WITHIN THE ESTABLISHED PERIOD OF TIME, IT
SHALL BE DEEMED VALID.

IF IT IS NOT ACCEPTED AND THERE IS AN OBJECTION BY “THE AIR TRANSPORTATION
COMPANIES” WITH RESPECT TO THE AMOUNT OF “DNI” PAID, THE COMPANIES
THEMSELVES MAY SUBMIT THEIR OBJECTION IN WRITING TO THE “I.N.M.” WITHIN A
MAXIMUM PERIOD OF 30 CALENDAR DAYS AFTER THEY RECEIVE THE “OFFICIAL
LETTER OF NOTICE”. THE FOREGOING SHALL NOT SUSPEND THE OBLIGATION TO
DELIVER THE TOTAL AMOUNT OF THE “DNI” INDICATED IN SUCH OFFICIAL LETTER,
WITHIN THE PERIOD OF TIME PROVIDED.




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IN THE CASE OF VALID OBJECTIONS, THE AIR TRANSPORTATION COMPANIES MAY
SET THEM OFF IN THE PAYMENT IMMEDIATELY FOLLOWING THE RULING, IN WHICH
EVENT THEY SHALL NOTIFY THE “I.N.M.”; THE AFOREMENTIONED AIR
TRANSPORTATION COMPANIES SHALL RESERVE THEIR RIGHT WITH RESPECT TO THE
RECOVERY OF THE CHARGES INVOLVED, WHICH SHALL BE ACCOMPANIED BY A COPY
OF THE APPLICABLE “RULING ON OBJECTION” DOCUMENT. IF NO SUCH COPY EXISTS,
THEY SHALL SUBMIT A COPY OF THE OBJECTION DOCUMENT WITH SUCH, STAMPED
RECEIVED BY THE I.N.M., PROVIDED THAT 15 CALENDAR DAYS HAVE ELAPSED SINCE
THE RESPONSE WAS RECEIVED FROM THE “I.N.M.”.

THE INTENT OF THE PARTIES IS TO REDUCE OBJECTIONS RELATED TO THE
PROCEDURES TO A MINIMUM, FOR WHICH THE “CANAERO AND INTERIOR” SHALL
HAVE PERIODIC MEETINGS AIMED AT THE REVIEW OF SUCH, THE FIRST OF WHICH
SHALL BE NINETY DAYS AFTER THE DATE THAT THIS AGREEMENT IS SIGNED.

NINE.- ADJUSTMENT OF THE CALCULATION.

THE I.N.M., AS THE RESULT OF THE EXERCISE OF THE POWER OF VERIFICATION
REFERRED TO IN CLAUSE THREE, SECTION G), AND IF THE “I.N.M.” HAS AN
OBJECTION, IT SHALL GIVE NOTICE OF THE CALCULATION THEREOF, WHICH SHALL
BE DEEMED VALID AFTER THIRTY DAYS AFTER SUCH NOTICE IS GIVEN, IF THERE IS
NO OBJECTION BY THE “AIR TRANSPORTATION COMPANIES”, WHICH SHALL PAY
SUCH WITHIN THIRTY BUSINESS DAYS AFTER THE DATE OF THE RECEIPT OF THE
OFFICIAL LETTER OF NOTICE.

TEN .- ADHERENCE TO THIS AGREEMENT.

“THE AIR TRANSPORTATION COMPANIES” MAY ADHERE TO THIS AGREEMENT,
THROUGH THEIR RESPECTIVE LEGAL REPRESENTATIVES, BY SIGNING EXHIBIT 1
ATTACHED HERETO, OR BY SENDING THE “I.N.M.” AN OFFICIAL COMMUNICATION
FROM THE COMPANY TO SUCH EFFECT, WITH A COPY FOR THE “CANAERO”, IN
ORDER FOR THE OBLIGATIONS AGREED TO HEREIN TO BE DEEMED ASSUMED AS
THEIR RESPONSIBILITY.

ELEVEN.- PROCEDURE.

FOR THE PURPOSE OF PRECISELY DEFINING THE OPERATIONAL ASPECTS OF THE
COMMITMENTS ASSUMED HEREIN, “INTERIOR” AND THE “CANAERO” SHALL PREPARE
A PROCEDURE TO BE FOLLOWED. THIS SHALL BE AN INTEGRAL PART OF THIS
AGREEMENT AS EXHIBIT NO. 4.




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SUCH PROCEDURE MAY BE MODIFIED FROM TIME TO TIME, DEPENDING THE NEED TO
FACILITATE THE COLLECTION AND PAYMENT OF THE DNI, BY AGREEMENT OF THE
PARTIES.

TWELVE.- TERM.

THIS AGREEMENT SHALL HAVE A TERM OF SIX MONTHS FROM THE DATE THAT IT IS
SIGNED AND AS LONG AS THE DNI ON WHICH IT IS BASED CONTINUES TO EXIST. IN
THE EVENT THAT EITHER PARTY WOULD LIKE TO TERMINATE IT IN WRITING, IT MUST
NOTIFY THE OTHERS IN WRITING WITHIN A PERIOD OF 90 CALENDAR DAYS PRIOR TO
THE TERMINATION DATE.

THE PARTIES STATE THEIR AGREEMENT THAT, IN THE EVENT OF ANY DISPUTE IN THE
INTERPRETATION OF, IMPLEMENTATION OF, OR COMPLIANCE WITH, THIS
AGREEMENT, THEY SHALL SUBMIT TO THE JURISDICTION OF THE COURTS OF
MEXICO CITY, FEDERAL DISTRICT, AND WAIVE ANY JURISDICTION THAT THEY MIGHT
BE ENTITLED TO ASSERT BASED ON THEIR CURRENT OR FUTURE DOMICILES.

THE PARTIES, BEING FAMILIAR WITH THE CONTENT AND LEGAL SCOPE OF THIS
AGREEMENT AND THE EXHIBITS THERETO, WHICH ARE AN INTEGRAL PART THEREOF,
SIGN IT IN WITNESS THEREOF IN SEXTUPLICATE, IN MEXICO CITY, FED. DIST., ON THE
30TH DAY OF THE MONTH OF JUNE OF NINETEEN NINETY-NINE.



            FOR “INTERIOR”                          FOR “INTERIOR”

             [SIGNATURE]                             [SIGNATURE]

  MR. JOSÉ ÁNGEL PESCADOR OSUNA             MR. GERARDO CAJIGA ESTRADA
UNDERSECRETARY FOR POPULATION AND                 SENIOR OFFICIAL
        IMMIGRATION SERVICES




                               FOR THE “I.N.M.”




                    DR. ALEJANDRO CARRILLO CASTRO
            COMMISSIONER OF THE NATIONAL MIGRATION INSTITUTE




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                                                     Last page of the Agreement to
                                                     establish the systems, procedures
                                                     and instructions regarding the
                                                     collection of fees for immigration
                                                     services for Non-immigrants, in their
                                                     status      as     Tourists        (FMT),
                                                     Transmigrants (FM6), and Visiting
                                                     Consultants      (FMVC),      hereinafter
                                                     referred to as the “DNI,” referred to in
                                                     Article 8, Sections i, III and VIII of the
                                                     Federal Fee Law.




                         FOR THE “CANAERO”



      [SIGNATURE]                             [SIGNATURE]

   JUAN I. STETA, P.E.                    MR. JAVIER CRISTLIEB
      PRESIDENT                                SECRETARY


                            [SIGNATURE]

                 MR. GABRIEL ORTEGA ALCOCER
                      EXECUTIVE DIRECTOR




           FOR “THE AIR TRANSPORTATION COMPANIES”




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